          Case 2:20-cv-00283-APG-VCF Document 12 Filed 06/12/20 Page 1 of 2




 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 ANTHONY OLIVER,                                         Case No.: 2:20-cv-00283-APG-VCF

 4          Plaintiff                                 Order Denying Motion for Reconsideration

 5 v.                                                                  [ECF No. 11]

 6 HOUSTON ASTROS, LLC; BOSTON RED
   SOX BASEBALL CLUB, L.P.; and DOES 1-
 7 10, inclusive,

 8          Defendants

 9         On March 23, 2020, Magistrate Judge Ferenbach dismissed plaintiff Anthony Oliver’s

10 complaint and permitted Oliver to file an amended complaint by April 22, 2020. ECF No. 6.

11 Oliver did not do so. Instead, he moved to transfer the venue of this case to either Texas or

12 California because he now wants to sue the baseball players who allegedly cheated and thereby

13 gave rise to his complaint. ECF No. 8. I denied the motion to transfer venue and dismissed this

14 case without prejudice because there was no complaint on file to transfer. ECF No. 9. Oliver

15 now moves for reconsideration of my order, claiming that he could not file an amended

16 complaint because he was suffering and recovering from the COVID-19 virus. ECF No. 11 at 3.

17         Oliver does not explain why he was able to file his motion to transfer venue (ECF No. 8)

18 yet could not file an amended complaint at that same time. His current motion does not explain

19 how he intends to cure the defects pointed out by Magistrate Judge Ferenbach. Oliver says he

20 hopes to assert “causes of action against the correct defendants” (ECF No. 11 at 3), but he does

21 not state who those are. In his earlier motion to transfer venue, Oliver stated he intends to sue

22 “defendants Justin Verlander who resides in the Dallas area, but is also a resident of California;

23 Jose Altuve who resides in El Paso, Texas, and Josh Reddick who resides in Waco, Texas.” ECF
          Case 2:20-cv-00283-APG-VCF Document 12 Filed 06/12/20 Page 2 of 2




 1 No. 8 at 3. He admits that if he sues those defendants in an amended complaint, “then venue is

 2 not proper in this district and . . . their counsel would file a similar motion to transfer venue.” Id.

 3 He also states he has counsel to represent him in California. Id.

 4         Based on these allegations, amendment of the complaint would be futile because the case

 5 would have to be transferred to California or Texas. Oliver wants to sue the alleged cheaters in

 6 California or Texas. Nothing in my prior order precludes him from doing so. I dismissed this

 7 case without prejudice to him filing a new lawsuit in an appropriate venue. See ECF No. 9 at 2

 8 (“If Oliver wants to sue the alleged cheaters, he may do so in a new lawsuit filed in the

 9 appropriate jurisdiction.”). Thus, there is no basis to grant leave to amend or reconsider my

10 earlier decision.

11         I THEREFORE ORDER that Oliver’s motion for reconsideration (ECF No. 11) is

12 denied.

13         DATED this 12th day of June, 2020.

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                                                           ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
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